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8                          UNITED STATES DISTRICT COURT
9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      Amazon Content Services, LLC;                Case No. 2:18-CV-3325-MWF (ASx)
11    Columbia Pictures Industries, Inc.;
      Disney Enterprises, Inc.; Netflix            DEFAULT JUDGMENT AND
12    Studios, LLC; Paramount Pictures             PERMANENT INJUNCTION
13    Corporation; Sony Pictures Television        AGAINST DEFENDANT SET
      Inc.; Twentieth Century Fox Film             BROADCAST, LLC D/B/A
14    Corporation; Universal City Studios          SETVNOW
      Productions LLLP; Universal Cable
15    Productions LLC; Universal Television
      LLC; Warner Bros. Entertainment Inc.,
16
                   Plaintiffs,
17
            vs.
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      Set Broadcast, LLC d/b/a Setvnow;
19    Jason Labossiere; Nelson Johnson,
20                 Defendants.
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            The above-titled matter came before the Honorable Michael W. Fitzgerald,
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      United States District Judge, presiding in Courtroom 5A of the above-titled Court,
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      pursuant to Plaintiffs Amazon Content Services, LLC, Columbia Pictures
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      Industries, Inc., Disney Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures
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      Corporation, Twentieth Century Fox Film Corporation, Universal City Studios
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      Productions LLLP, and Warner Bros. Entertainment Inc.’s (“Plaintiffs”) Motion
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1     for Default Judgment Against Defendant Set Broadcast, LLC d/b/a Setvnow (“Set
2     Broadcast”). (Docket No. 53).
3            Set Broadcast was regularly served with process and then failed to plead or
4     otherwise defend this action. Set Broadcast’s default was entered by the Clerk of
5     Court on May 28, 2019. (Docket No. 49). Plaintiffs have requested judgment and
6     a permanent injunction against the defaulted Set Broadcast. The Court has
7     considered Plaintiffs’ Motion and supporting papers.
8            Good cause having been shown and pursuant to Rules 54, 55(b)(2), 58(a),
9     and 65 of the Federal Rules of Civil Procedure,
10           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
11    judgment be entered as follows:
12           (1)   Set Broadcast shall pay Plaintiffs a sum of $7,650,000.00, which
13    reflects the statutory maximum of $150,000 for each of the 51 representative works
14    infringed by Set Broadcast.
15           (2)   Plaintiffs shall further recover post-judgment interest as provided by
16    law.
17           (3)   Set Broadcast, all of its agents, servants, and employees, and all
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      persons in active concert or participation or in privity with any of them who
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      receive actual notice of this Order (collectively, the “Enjoined Parties”) are
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      immediately and permanently enjoined according to the following terms:
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             (4)   For the purposes of this Judgment and Permanent Injunction, the
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      following definitions shall apply:
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                   a.     “ST-110 Set-Top Box” shall refer to the hardware devices pre-
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      loaded with copyright infringing software, addons, programs, applications, and all
25
26    related services that Defendant marketed, promoted, sold, and supported.

27                 b.     “Setvnow Service” shall refer to the copyright infringing
28    software, programs, applications, and services that transmit or otherwise
                                                2
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1     communicate television programs and motion pictures over the Internet that
2     Defendant marketed, promoted, sold, and supported.
3                   c.    “Copyrighted Works” shall mean all copyrighted works (and
4     any portions thereof) in which the Plaintiffs, individually or jointly, (or any
5     parent, subsidiary, or affiliate of any of the Plaintiffs) owns or controls an
6
      exclusive right under the United States Copyright Act, 17 U.S.C. §§ 101 et seq.
7
            (5)     The Enjoined Parties are permanently ENJOINED from infringing,
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      by any means, directly or indirectly, any of Plaintiffs’ exclusive rights under the
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      Copyright Act in the Copyrighted Works. The Enjoined Parties are further
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      permanently ENJOINED as follows:
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                    a.    Shall permanently cease all operation of the Setvnow Service
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      and ST-110 Set-Top Box, including without limitation services related to the
13
14    Setvnow Service, within five (5) days of entry of this Judgment and Permanent

15    Injunction.

16                  b.    Shall be further enjoined from operating any website, system,
17    software, or service that is substantially similar to the Setvnow Service.
18                  c.    Shall be further enjoined from distributing, selling, advertising,
19    marketing, or promoting the ST-110 Set-Top Box or any substantially similar
20    computer hardware device or related software that contains, connects to, transmits,
21    streams, hosts, provides access to, or otherwise publicly performs, directly or
22    indirectly, by means of any device or process, Plaintiffs’ Copyrighted Works
23    without authorization.
24                  d.    Shall not directly or indirectly take any additional steps to
25    release publicly, distribute, transfer, or give any source code, object code, other
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      technology, domain names, trademarks, brands, assets or goodwill in any way
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      related to the Setvnow Service.
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1           (6)    Service by mail upon Set Broadcast of a copy of this Default
2     Judgment and Permanent Injunction once entered by the Court is deemed sufficient
3     notice to Set Broadcast under Federal Rule of Civil Procedure 65. It shall not be
4     necessary for Set Broadcast to sign any form of acknowledgement of service.
5           (7)    This Permanent Injunction shall bind Set Broadcast and all of its
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      agents, servants, and employees, and all persons in active concert or participation
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      or in privity with any of them who receive actual notice of this Order. Set
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      Broadcast shall provide a copy of this Default Judgment and Permanent Injunction
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      to its officers, agents, servants, employees, attorneys, principals, shareholders,
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      members, and current and future administrators or moderators of the any online
11
      forums associated with Set Broadcast.
12
            (8)    Violation of this Permanent Injunction shall expose Set Broadcast and
13
14    all other persons bound by this Permanent Injunction to all applicable penalties,

15    including contempt of Court.

16          (9)    Within 14 days of the date the Court enters this Default Judgment
17    Permanent Injunction, Set Broadcast shall file and serve a report in writing and
18    under oath setting forth in detail the manner and form with which Set Broadcast
19    has complied with the Permanent Injunction.
20          (10) The Court finds there is no just reason for delay in entering this
21    Default Judgment and Permanent Injunction and, pursuant to Federal Rule of Civil
22    Procedure 54(a), the Court directs immediate entry of this Default Judgment and
23    Permanent Injunction.
24          (11) The Court shall retain jurisdiction of this action to entertain such
25    further proceedings and to enter such further orders as may be necessary or
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1     appropriate to implement and enforce the provisions of this Default Judgment and
2     Permanent Injunction.
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4     Dated: July 31, 2019           ______________________________
5                                         MICHAEL W. FITZGERALD
                                          United States District Judge
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